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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.

 RENZO BARBERI,

              Plaintiff,

              vs.

 DON PAN BIRD ROAD, INC., a Florida
 Profit Corporation, PENELOPE STUART,
 LENGE HONG and LEI-HANG HONG,
 Individuals,

           Defendants.
 _______________________________/

                                    COMPLAINT

 Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned
 counsel, hereby files this complaint and sues DON PAN BIRD ROAD, INC. (“DON
 PAN”), PENELOPE STUART (“STUART”), LEI-HANG HONG (“L.-H. HONG”) and
 LENGE      HONG    (“L.   HONG”)   (hereinafter,   collectively   referred   to   as
 “Defendants”), for declaratory and injunctive relief; for discrimination based on
 disability; and for the resultant attorney's fees, expenses, and costs (including,
 but not limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181 et.
 seq., ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and
 alleges:


 JURISDICTION
 1.    This Court is vested with original jurisdiction over this action pursuant to
 28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
 §12181 et. seq., based on Defendants’ violations of Title III of the Americans
 with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
 28 U.S.C. §2201 and §2202.



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 VENUE
 2.     The venue of all events giving rise to this lawsuit is located in Miami-
 Dade County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local
 Rules of the United States District Court for the Southern District of Florida,
 this is the designated court for this suit.


 PARTIES
 3.    Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the
 time of Plaintiff’s visit to Don Pan Bakery (“Subject Facility”), Plaintiff suffered
 from a “qualified disability” under the ADA, and required the use of a
 wheelchair for mobility. Specifically, Plaintiff suffers from paraplegia due to a
 severed T4 and T5 and is therefore confined to his wheelchair. Plaintiff
 personally visited Don Pan Bakery, but was denied full and equal access, and full
 and equal enjoyment of the facilities, services, goods, and amenities within Don
 Pan Bakery, which is the subject of this lawsuit. The Subject Facility is a
 restaurant, and Plaintiff wanted to purchase food and beverages but was unable
 to due to the discriminatory barriers enumerated in Paragraph 15 of this
 Complaint.


 4.    In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the
 rights of similarly situated disabled persons and is a “tester” for the purpose of
 asserting his civil rights and monitoring, ensuring and determining whether
 places of public accommodation are in compliance with the ADA.


 5.    Defendants, DON PAN, STUART, L.-H. HONG and L. HONG are authorized to
 conduct business and are in fact conducting business within the State of Florida.
 The Subject Facility is located at 9280 SW 40th Street, Miami, FL 33165. Upon
 information and belief, DON PAN is the lessee and/or operator of the Real
 Property and therefore held accountable of the violations of the ADA in the
 Subject Facility which is the matter of this suit. Upon information and belief,
 STUART, L.-H. HONG and L. HONG are the owners and lessors of the Real

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 Property where the Subject Facility is located and therefore held accountable for
 the violations of the ADA in the Subject Facility which is the matter of this suit.


 CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
 6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
 through 5 of this complaint, as are further explained herein.


 7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
 ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
 and a half years from enactment of the statute to implement its requirements.
 The effective date of Title III of the ADA was January 26, 1992, or January 26,
 1993 if Defendants had ten (10) or fewer employees and gross receipts of
 $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


 8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
 among other things, that:

       i. some 43,000,000 Americans have one or more physical or mental
         disability, and this number shall increase as the population continues to
         grow and age;

       ii. historically, society has tended to isolate and segregate individuals
         with disabilities and, despite some improvements, such forms of
         discrimination against disabled individuals continue to be a pervasive
         social problem, requiring serious attention;

       iii. discrimination against disabled individuals persists in such critical
         areas as employment, housing, public accommodations, transportation,
         communication, recreation, institutionalization, health services, voting
         and access to public services and public facilities;

       iv.    individuals   with    disabilities   continually     suffer  forms  of
         discrimination,    including:    outright     intentional    exclusion; the
         discriminatory     effects    of     architectural,    transportation,  and
         communication barriers; failure to make modifications to existing
         facilities and practices; exclusionary qualification standards and
         criteria; segregation, and regulation to lesser services, programs,
         benefits, or other opportunities; and,

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         v. the continuing existence of unfair and unnecessary discrimination and
           prejudice denies people with disabilities the opportunity to compete on
           an equal basis and to pursue those opportunities for which this country
           is justifiably famous, and costs the United States billions of dollars in
           unnecessary expenses resulting from dependency and non-productivity.

 9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
 that the purpose of the ADA was to:

         i. provide a clear and comprehensive national mandate for the elimination
           of discrimination against individuals with disabilities;

         ii. provide clear, strong, consistent, enforceable standards addressing
           discrimination against individuals with disabilities; and,

         iii. invoke the sweep of congressional authority, including the power to
           enforce the fourteenth amendment and to regulate commerce, in order to
           address the major areas of discrimination faced on a daily basis by
           people with disabilities.

 10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
 individual may be discriminated against on the basis of disability with regards
 to    the   full   and   equal   enjoyment   of   the   goods,   services,   facilities,   or
 accommodations of any place of public accommodation by any person who
 owns, leases (or leases to), or operates a place of public accommodation. Don Pan
 Bakery is a place of public accommodation by the fact it is an establishment that
 provides goods/services to the general public, and therefore, must comply with
 the ADA. The Subject Facility is open to the public, its operations affect
 commerce, and it is a restaurant. See 42 U.S.C. Sec. 12181 (7) and 28 C.F.R.
 36.104. Therefore, the Subject Facility is a public accommodation that must
 comply with the ADA.


 11.     The Defendants have discriminated, and continue to discriminate against
 the Plaintiff, and others who are similarly situated, by denying access to, and
 full and equal enjoyment of goods, services, facilities, privileges, advantages
 and/or accommodations at Don Pan Bakery located at 9280 SW 40th Street, Miami, FL


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 33165, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq.; and by
 failing   to    remove    architectural       barriers   pursuant   to   42   U.S.C.
 §12182(b)(2)(A)(iv).


 12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
 and equal access to the facility and therefore suffered an injury in fact.


 13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
 enjoy the goods and/or services at the Subject Facility within the next six
 months. The Subject Facility is in close proximity to Plaintiff’s residence and is
 in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
 return to monitor compliance with the ADA. However, Plaintiff is precluded
 from doing so by the Defendants' failure and refusal to provide people with
 disabilities with full and equal access to their facility. Therefore, Plaintiff
 continues to suffer from discrimination and injury due to the architectural
 barriers, which are in violation of the ADA.


 14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
 Department of Justice, Office of the Attorney General, promulgated Federal
 Regulations to implement the requirements of the ADA. The ADA Accessibility
 guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
 violators to obtain civil penalties of up to $55,000 for the first violation and
 $110,000 for any subsequent violation.


 15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

 C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

 following specific violations which Plaintiff personally encountered and/or has

 knowledge of:




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          a) The customer parking facility alongside the restaurant does not provide a

             compliant accessible parking space. 2012 ADA Standards 502.1

          b) The parking facility of the building has twenty-four (24) marked standard spaces

             and one (1) non-compliant accessible space. One (1) compliant accessible parking

             space is required. 2012 ADA Standards 208.2.

          c) The accessible parking space is not located closest to the main entrance of the

             restaurant. The main entrance door is located in the front of the building. Parking

             spaces that serve a particular building or facility must be located on the shortest

             accessible route from parking to the accessible main entrance. 2012 ADA

             Standards 208.3.1

          d) The non-compliant parking space ground surface is rough, uneven, and out of

             level. Parking spaces and access aisles serving them must comply with Section

             302. Access aisles must be at the same level as the parking spaces they serve.

             Changes in level are not permitted. The exception that states slopes not steeper

             than 1:48 allows sufficient slope for drainage. 2012 ADA Standards 403.4,

             502.3.2, 502.4

          e) The accessible parking space identification striping is mismarked. The lines are

             faded. Each such parking space must be striped in a manner that is consistent with

             the standards of FDOT for other spaces and prominently outlined with blue paint,

             and must be repainted when necessary, to be clearly distinguishable as a parking

             space designated for persons who have disabilities. 2012 ADA Standards 502.6.1

          f) The parking facility does not provide compliant directional and informational

             signage to a compliant accessible parking space. 2012 ADA Standards 216.5



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          g) The parking facility does not have an access aisle attached to a compliant

             accessible route serving any existing parking space which would allow safe

             entrance or exit of vehicle for accessible persons requiring mobility devices.

             2012 ADA Standards 502.2

          h) There is currently no compliant accessible route to help persons with disabilities

             safely maneuver through the parking facility. The existing marked route passes

             through a building drainage area keeping the ground wet and slippery. 2012 ADA

             Standards 302.1

          i) There is one (1) non-compliant ramp attached to the building sidewalk along the

             accessible route. The ramp does not have edge protection. Edge protection must

             be provided on each side of ramp runs and at each side of ramp landings. 2012

             ADA Standards 405.9

          j) The restaurant entrance nearest the accessible route is non-compliant. The

             entrance does not meet the required maneuvering clearances. Maneuvering

             clearances must extend the full width of the doorway and the required latch side

             or hinge side clearance. 2012 Standards 404.2.4

          k) The facility does not provide compliant directional and informational signage to

             an accessible route which would lead to an accessible entrance. Where not all

             entrances comply, compliant entrances must be identified by the International

             Symbol of Accessibility. Directional signs that indicate the location of the nearest

             compliant entrance must be provided at entrances that do not comply. 2012 ADA

             Standards 216.

 16.   Upon information and belief there are other current violations of the ADA
 at Don Pan Bakery. Only upon full inspection can all violations be identified.

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 Accordingly, a complete list of violations will require an on-site inspection by
 Plaintiff’s representatives pursuant to Rule 34b of the Federal Rules of Civil
 Procedure.


 17.   Upon information and belief, Plaintiff alleges that removal of the
 discriminatory barriers and violations is readily achievable and technically
 feasible. To date, the readily achievable barriers and other violations of the
 ADA still exist and have not been remedied or altered in such a way as to
 effectuate compliance with the provisions of the ADA.


 18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
 the Defendants were required to make the establishment a place of public
 accommodation, accessible to persons with disabilities by January 28, 1992. As
 of this date the Defendants have failed to comply with this mandate.


 19.   The Plaintiff has been obligated to retain the undersigned counsel for the
 filing and prosecution of this action. Plaintiff is entitled to have its reasonable
 attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
 U.S.C. §12205.


 20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
 grant Plaintiff injunctive relief, including an order to alter the subject facilities
 to make them readily accessible and useable by individuals with disabilities to
 the extent required by the ADA, and closing the Subject Facility until the
 requisite modifications are completed.


 REQUEST FOR RELIEF
 WHEREFORE, the Plaintiff demands judgment against the Defendants and
 requests the following injunctive and declaratory relief:


 21. That this Honorable Court declares that the Subject Facility owned, operated

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 and/or controlled by the Defendants is in violation of the ADA;


 22.   That this Honorable Court enter an Order requiring Defendants to alter the
 Subject Facility to make it accessible to and usable by individuals with
 disabilities to the full extent required by Title III of the ADA;


 23.   That this Honorable Court enter an Order directing the Defendants to
 evaluate and neutralize their policies, practices and procedures toward persons
 with disabilities, for such reasonable time so as to allow the Defendants to
 undertake and complete corrective procedures to the Subject Facility;


 24.   That this Honorable Court award reasonable attorney's fees, all costs
 (including, but not limited to court costs and expert fees) and other expenses of
 suit, to the Plaintiff; and


 25.   That this Honorable Court award such other and further relief as it deems
 necessary, just and proper.

 Dated this June 14, 2021.


 Respectfully submitted by:

 Ronald E. Stern
 Ronald E. Stern, Esq.
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 Attorney for Plaintiff, RENZO BARBERI




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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.

  RENZO BARBERI,

              Plaintiff,

              vs.

  DON PAN BIRD ROAD, INC., a Florida
  Profit Corporation, PENELOPE STUART,
  LENGE HONG and LEI-HANG HONG,
  Individuals,

            Defendants.
  _______________________________/

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 14, 2021, I electronically filed the
  Complaint along with a Summons for each Defendant with the Clerk of Court
  using CM/ECF. I also certify that the aforementioned documents are being
  served on all counsel of record, corporations, or pro se parties identified on the
  attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that all future pleadings, motions and documents
  will be served either via transmission of Notices of Electronic Filing generated
  by CM/ECF or via U.S. Mail for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff RENZO BARBERI




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                                 SERVICE LIST:

      RENZO BARBERI, Plaintiff, vs. DON PAN BIRD ROAD, INC., a Florida Profit
     Corporation, PENELOPE STUART, LENGE HONG and LEI-HANG HONG, Individuals

              United States District Court Southern District of Florida

                                     CASE NO.


  DON PAN BIRD ROAD, INC.

  REGISTERED AGENT:

  GORRIN, ALEJANDRA C.
  6925 NW 52ND STREET
  MIAMI, FL 33166

  VIA PROCESS SERVER


  PENELOPE STUART

  63 MOUNTAINSIDE RD
  MENDHAM, NJ 07945

  VIA PROCESS SERVER


  LENGE HONG

  63 MOUNTAINSIDE RD
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